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ROGER JON DIAMOND, ESQ.
2115 Main Street

Santa Monica, CA 90405
(310)399-3259

Fax No. 310/392-9029
State Bar No. 40146

Attorney for Defendant Scores

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

THE CALIFORNIA COALITION OF
UNDRESSED PERFORMERS; 4 EXOTIC
DANCERS; and ALL SIMILARLY
SITUATED INDIVIDUALS,

CASE NO. CV 08-04038 ABC

ANSWER TO COMPLAINT
Plaintiffs
Vs.

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)
SPEARMINT RHINO, BARE ELEGANCE)
CENTURY LOUNGE; CRAZY GIRLS; )
DEJU VU SHOWGIRLS; FANTASY )
ISLAND; 4 PLAY; JET STRIP; )
PLAYPEN; RIO, ROUGE; SAM’S HOF)
BRAU; SCORES; SEVENTH VEIL;  )
SILVER REIN; STAR STRIP; STAR }
STRIP TOO; STARZ and the WILD }
GOOSE, )

)

)

)

Defendants

 

DEFENDANT SCORES RESPONDS TO THE COMPLAINT AS FOLLOW:
1. Denies
2. Denies
3. Denies.
4. Denies.
5. Denies.

6. Denies.

 

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Denies.
Denies.

Denies.

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Defendant has no knowledge with respect to Defendant

Spearmint Rhino.

11.

Defendant has

Elegance.

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Lounge.

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Defendant has

Defendant has

Crazy Girls.

14.

Defendant has

Vu Showgirls.

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Fantasy

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Play.

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Defendant Bare

Century

Defendant

Defendant Deja

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Defendant has no knowledge with respect to Defendant Jet

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Defendant has

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Defendant Rio.

 
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Case 2:08-cv-04038-ABC-SS

Defendant

Seventh Veil.

Defendant

Silver Rein.

Defendant

Defendant

Defendant

Defendant

Denies.
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Defendant

Defendant

Defendant Star

Defendant Star

Defendant

Defendant Wild

 
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44, Denies.
45. Denies.
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50. Denies.
51. Denies.
52. Denies.
53. Denies.
54. Denies.
55. Denies.
56. Denies.

FIRST AFFIRMATIVE DEFENSE

for improper joinder of Defendants.
SECOND AFFIRMATIVE DEFENSE
Plaintiffs lack standing to sue.
THIRD AFFIRMATIVE DEFENSE
The alleged Plaintiff, the California Coalition of Undressed
Performers, is not a proper Plaintiff. It is neither a dancer nor

any other type of employee or independent contractor. It lacks

standing to sue.
FOURTH AFFIRMATIVE DEFENSE
The Plaintiffs named herein as “4 Exotic Dancers” are not

proper Plaintiffs. They must sue in the name of a particular

 

The Defendant had been improperly joined with other Defendants

with whom it has no relationship. The action should be dismissed

 
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person. Otherwise, these Plaintiffs lack standing to sue.
FIFTH AFFIRMATIVE DEFENSE
The action should not have been brought as a class action
because the named Plaintiffs do not adequately represent the
alleged class members. This is not a proper class action.
SIXTH AFFIRMATIVE DEFENSE
Plaintiff's action is barred by the statute of limitations.
SEVENTH AFFIRMATIVE DEFENSE
Plaintiffs lacks clean hand.
EIGHTH AFFIRMATIVE DEFENSE
Plaintiffs are guilty of laches.
NINTH AFFIRMATIVE DEFENSE
Plaintiffs may not maintain this action as a class action
because their attorney, Patrick J. Manshardt, was and is a
suspended California attorney and may not practice law during the
time of his suspension. For a class action to be properly brought
the attorney for the class members must be admitted to practice law
in the state where the action is filed. Attorney Patrick J.
Manshardt is under suspension and therefore improperly filed this
action and improperly had it served.
TENTH AFFIRMATIVE DEFENSE
The Court lacks jurisdiction.
ELEVENTH AFFIRMATIVE DEFENSE
During the time Plaintiffs were allegedly employed they earned
substantial sums of money and should be compelled to repay that
money should they prevail on any claim in this case. It would be

unethical for Plaintiffs to retain any money earned while working

 
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at the club.

WHEREFORE, DEFENDANT PRAYS FOR JUDGMENT AS FOLLOWS:

1. That Plaintiffs be awarded nothing;

2. That Defendant be awarded judgment;

3. That Plaintiffs be forced to pay Defendants their
reasonable attorney’s fees and other sanctions for filing an
improper action;

4, For such other and further relief as the Court deems just
and proper.

Respectfully submitted,
s/s

ROGER JON DIAMOND
Attorney for Defendant

 
